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                   IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF UTAH

Criminal Productions, Inc.

      Plaintiff,
v.                                             Case No. 2:17-cv-00550-DBP

Darren Brinkley,
      Defendant.

               DECLARATION OF ATTORNEY LISA L. CLAY

      1.     I am an adult resident of the State of Illinois and an attorney who is

licensed to practice law in Illinois, Washington (inactive) and Washington, D.C.

(inactive). I am admitted pro hac vice in this matter.

      2.     I am familiar with the facts and circumstances set forth in this

declaration and can testify to those matters stated herein if called upon to do so.

      3.     I have been representing BitTorrent litigation (so-called “copyright

trolling”) defendants since 2015. I have informally advised or formally represented

approximately 50 defendants in cases across the country. I make the

representations contained in this declaration based on my experience with not only

this plaintiff, but other BitTorrent plaintiffs and their counsel in the seven

jurisdictions where I have represented or assisted in the representation of a named

defendant. I hereby incorporate my prior declaration in support of Defendant’s



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Opposition to Plaintiff’s Motion to Dismiss Defendant’s Counterclaim hereto as

Exhibit A.

      4.     I authorized my local counsel to attempt to settle this matter prior to

my researching counterclaims and drafting and filing an answer and counterclaim.

Mr. Hoole’s attempts were unsuccessful. Counsel and I agreed throughout this

representation that we would discount our fees for the sake of a settlement but

Plaintiff’s counsel would never so much as respond to our demands. Rather,

Plaintiff continued to make ever-diminishing offers as outlined in my original

declaration (Exhibit A.)

      5.     We made another settlement offer at Plaintiff’s request in late January

of 2018, but Plaintiff never responded. After discovery was served and Plaintiff

once again began making noise about dismissal without payment of Defendant’s

fees and costs, my April 16, 2018 email made it clear my client expected to be paid

his fees and costs if there was to be any form of settlement. Finally, on July 10,

2018, I sent Plaintiff correspondence offering to settle this matter for a discounted

percentage of Defendant’s fees and costs to date. (Exhibit B.) Plaintiff never

responded.

      6.     The only offers Plaintiff made to settle this matter did not include

compensation to Brinkley for his costs and attorneys’ fees in defending this matter.




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      7.     I have represented dozens of defendants, potentially more, who have

requested, either in discovery or as part of settlement negotiations, evidence of

infringement. In every one of those cases the plaintiff voluntarily dismissed –

several times attempting to do so without prejudice to avoid a fee petition – once it

became clear I would pursue the issue through formal discovery, including motions

to compel. The most glaring recent example was in the Northern District of

Illinois. My client Ernesto Mendoza filed an answer and counterclaim in a case

filed by another shell plaintiff associated with Criminal, Bodyguard Productions.

Within a week of Plaintiff’s mandatory initial disclosures being due – disclosures

that would obligate them to provide their evidence of infringement – their attorney

contacted me to seek my agreement to voluntarily dismiss. No mention was made

of payment of my client’s fees and costs.

      8.     At no time during the year this case was pending did Plaintiff ever

produce any evidence of infringement despite our formal and informal discovery

requests. I had written at least one if not more than one meet and confer letters and

was in the process of outlining a motion to compel when we received Plaintiff’s

Motions to Dismiss.

      9.     During the pendency of this litigation I have learned many things

about the BitTorrent model, most recently from the 30(b)(6) witness for LHF

Productions, Inc. in the case LHF Productions, Inc. v. Kabala, 16 cv 2028 (D.



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Nev.) LHF Productions, Inc., Criminal Productions, Bodyguard Productions and

other so-called Plaintiffs are referred to in the movie industry as “special purpose

entities” or “SPEs.” An SPE is set up to make a film. It is wholly owned by the

movie studio that makes the film. In the case of LHF, Criminal, Bodyguard and

many others, Millennium Films, which also uses a host of other corporate entities

(A & T IP Inc., Millennium Media, Millennium IP, Inc., etc.) is one of the real

parties in interest. The other real party in interest is the entity responsible for

running the technology that searches the internet for potential infringement, and for

running the litigation. This entity frequently changes names and is set up in

Germany in order to hide behind the Hague convention, which makes legal process

for depositions and summons all but impossible. Current contracts with

Millennium produced in the Kabala matter1 suggest the following: (1) the technical

entity (and the entity that is paid the most as a percentage in terms of proceeds

from litigation) is currently referred to as “Copyright Management Services, Ltd.”

or “CMS,” but both Millennium’s 30(b)(6) witness and the attorney retained by

CMS to represent LHF both refer to CMS as “GuardaLey”; (2) CMS/GuardaLey,

and not the Plaintiff, hires the lawyers to file these claims; (3) CMS/GuardaLey


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  Plaintiff in the Kabala matter has agreed to produce versions of the contracts referenced
herewith without the current confidential designation, but with redactions of the percentages
described in the contracts, on grounds that they “can harm the parties to the agreements.” Kabala
is in the process of drafting a motion to require LHF to un-designate the documents in their
entirety. The documents will be produced to this court as part of Brinkley’s reply to this motion,
if any, after they have been undesignated, or upon request by the Court, under seal if necessary.

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and not the Plaintiff, is the party responsible for the litigation, and presumably the

entity to whom the attorney reports; (4) CMS/GuardaLey, and not the Plaintiff,

pays the lawyers, through a contingency model that first reimburses

CMS/Guardaley, then pays the attorneys, and then, presumably, Millennium; (5)

neither the Plaintiff nor the lawyer filing the case appears to review any evidence

prior to the case being filed, likely because they will be charged by GuardaLey to

obtain it; and (5) Millennium and the Plaintiff have no skin in the game: they do

not pay costs, fees, or any damages. It is Guardaley and the lawyers that financially

benefit from these cases. It is my assumption that the reason an SPE is used as the

Plaintiff is to protect the assets of the real parties in interest – Millennium and

GuardaLey. Because Criminal is a Millennium film I have no reason to believe that

these same arrangements would not apply to this case.

      10.    The 30(b)(6) declarant also testified that the rights LHF Productions

would presumably require to file these suits were transferred to another entity prior

to filing of the Kabala suit, calling into question whether LHF, like F & D in the

Zhang matter discussed in footnote 3, had (or has) standing. Based on these

Plaintiffs’ seeming fear of discovery of any kind, I suspect that it is not unusual for

an SPE to lack standing.




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      11.    I have little doubt that if discovery had continued we would have

learned that Plaintiff never had any evidence of infringement, and that the claims at

issue were therefore brought in bad faith.

      12.    The retainer with Mr. Brinkley is for his defense in the instant

litigation. He agreed to pay costs, a retainer to Attorney Hoole’s firm of $500, and

be billed at $400/hour by me and comparable rates by any necessary co-counsel.

We were hopeful the case would be resolved quickly as Mr. Brinkley is not a man

of means. When we were forced to answer and counterclaim, an outcome I braced

myself for given my prior experience with very aggressive plaintiffs in these cases,

I prepared Mr. Brinkley for the worst, and made certain he understood the potential

for significant costs and fees. My co-counsels and I were extremely disappointed

that Plaintiff refused to dismiss him and forced us to litigate instead.

      13.    My invoice for services rendered contains billing in the following

stages: pre-answer negotiations and research; answer preparation; discovery and

enforcement efforts; motion to dismiss; petition for fees. The number of hours and

description of those hours are set forth in detail on the redacted and color-coded

billing records attached hereto as Exhibit C.

      14.    My colleagues and I spent significant time responding to Plaintiff’s

Motion to Dismiss because we sincerely wished the Court would provide us the




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opportunity to maintain the litigation long enough to explore our concerns

regarding the questionable nature of these claims.

         15.    I only began billing to draft the instant Petition after the deadline for

response to my latest settlement offer had passed.

         16.    I reside in the Chicago area and most of my practice is in the Northern

District of Illinois. I have been practicing law since 2002. Prior to becoming a solo

practitioner in 2012, I worked for several large defense firms, McGuireWoods,

LLP and Shefsky & Froelich, now Taft, Stettinius & Hollister. I have been a solo

practitioner since 2012. I have no employees and therefore no administrative

assistance. My practice is focused on employment law, consumer troll defense

(which includes ADA trolling, copyright trolling and piracy trolling2), and some

general commercial disputes, although I see very little of that work these days

given my focus on troll defense. I estimate that approximately 40% of my practice

for the past five years has been dedicated to consumer troll defense, most of which

is “pro” bono or “low” bono billing. Hourly rates in the Chicago area vary

dramatically. Large firms charge upwards of $1200/hour, while a 2017 Legal

Trends Report conducted by Clio suggested an average rate in Chicago of

$312/hour. (Exhibit D.) The Laffey matrix for 2017 suggests an hourly rate of

$685/hour for a person with between 11 an 19 years of experience. See

2
    http://www.abajournal.com/magazine/article/pay_tv_theft_claims



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https://www.advisoryhq.com/articles/attorney-fees/. My $400/hour rate in these

matters is based on metropolitan rates in my area; my 16 years of practice

experience; the technical complexity of these cases and my unique subject matter

expertise in troll defense; and the small number of attorneys willing to accept these

representations given the risk of non-payment.

      I, Lisa L. Clay, declare under penalty of perjury under the law of the United
States of America that the foregoing is true and correct.


Dated: July 20, 2018                          /s/ Lisa L. Clay




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